Case o-20-06049-aSt DOC 90-2 =Filed VUlflo/zs Entered Ol/loiz5 20141744

EXHIBIT B
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OR INQUIRIES CALL: NEW YORK CITY PRIVATE BANKING
p™ (212) 350-2535

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CONSTELLATION HEALTHCARE TECHNOLOGIES IN $28,047.46
12,790,719.89
3400 RT 35 SOUTH
12,740,000.60
SUITE 9 0.00
HAZLET NJ 07730 $79,767.05

ACCOUNT ACTIVITY
08/01/2016 | BEGINNING BALANCE $29,047.16
08/09/2016 | In Branch Transfer/Deposit $12,220,000.00
08/09/2016 | tn Branch Transfer/Deposlt 500,000.00 12,749,047.16
08/10/2016 | OUTGOING FEDWIRE TRANSFER AUTO NON REP $12,740,000.00
Robinson Brog 9,047.16
08/12/2016 | DEPOSIT 20,719.89 29,767.05
‘L, 08/17/2016 | INCOMING FEDWIRE FUNDS TRANSFER §0,000.00
AMERICAN EXPRESS TRAVEL RELATED 79,767.05
LL NUMBER OF DEPOSITS/CHECKS PAID 4 0
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TENTH AND MARKET STREET EHREN-WALIA 00147

1007 NORTH MARKET STREET SUITE 12 WILMINGTON, DE 19801

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| HOW TO BALANCE YOUR M&T BANK ACCOUNT |

| TO BALANCE YOUR CHECKBOOK WITH YOUR ACCOUNT STATEMENT COMPLETE STEPS 1, 2, & 3. 4 of
STEP 1 | Place a checkmark (  ) beside each item listed on this statement which has a corresponding entry in .

re your check register.

Also place a checkmark next to the item in your check register.

STEP 2 | ADD to your check register:
(a) Any deposits and other credits shown on this statement which you have not already entered.

(b) Any interest this statement shows credited to your account.

STEP 3 | SUBTRACT from your check register:

(a) Any checks or other withdrawals shown on this statement which you did not enter into your register.
(b) Any automatic loan payments or ATM or other electronic debits shown cn this statement which you

have not already subtracted.
(c) Any service charges shown on this statement which you have not already subtracted.

TO DETERMINE THE CURRENT BALANCE IN YOUR ACCOUNT:

STEP 4 } List any outstanding checks or debits written in your register, but not yet appearing on your statement.

OUTSTANDING CHECKS AND OTHER DEBITS [__ OUTSTANDING CHECKS AND OTHER DEBITS
NUMBER_ AMOUNT NUMBER AMOUNT
4 $ 43 $
2 14
3 45
4 16
5 17
6 18
7 19
8 20 a
ame, | 9 21 ‘
" Mo 22 sf
11 SUBTOTAL OF COLUMN 2
2 [SUBTOTAL OF COLUNIN1 +
SUBTOTAL OF COLUMN1 |$ CHECKS AND. fepits $
STEP 5 | Enter on this line the Ending Balance shown in the summary on the
front of this statement. $
STEP 6 | Enter the total of any deposits or other credits shown on your check
register which are not shown on this statement. $
STEP 7 | Enter the total of STEPS 5 & 6.
$
STEP 8 | Enter TOTAL OUTSTANDING CHECKS & DEBITS (from STEP 4).
$
STEP 9 | Subtract STEP 8 from STEP 7 and enter the difference here.
$

This amount should be your
current account balance.

Is your business growing too big or is it taking too much time for your deposit accounts
’ to be balanced on the back of the statement like this?
M&T Bank offers an account reconciliation service as one of its many cash management products.
For more information, contact your branch manager or relationship manager
or call M&T Bank Cash Management Services at 1-800-724-2240.

EN Mail Bank GS

EHREN-WALIA 00148
